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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

SCOMA CHIROPRACTIC, P.A., a
Florida         corporation,
individually   and  as   the
representative of a class of
similarly-situated persons,

           Plaintiff,

v.                                    Case No:    2:17-cv-615-FtM-99MRM

LIBERTY CAPITAL GROUP, INC.,
a California corporation and
JOHN DOES 1-5,

           Defendants.


                                      ORDER

      This matter comes before the Court on plaintiff's Notice of

Settlement   (Doc.   #12),    filed    on     January   2,    2018.   Plaintiff

indicates that the parties have reached a settlement in the case,

and   anticipate     filing    a      stipulation       for    dismissal   upon

finalization.    As a result, the Court will terminate the pending

Motion for Entry of Clerk’s Default Against Defendant Liberty

Capital Group, Inc. (Doc. #11) as moot, and take no further action

on the Order to Show Cause (Doc. #10).           The Court anticipates that

the John Does 1-5 will also be dismissed.

      Accordingly, it is hereby

      ORDERED AND ADJUDGED that the case is hereby DISMISSED,

without prejudice and subject to the right of the parties, within
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SIXTY (60) DAYS of the date hereof, to submit a stipulated form of

final order or judgment, or request an extension of time should

they so choose, or for any party to move to reopen the action,

upon good cause being shown.          After that SIXTY (60) DAY period,

however, without further notice or order, this dismissal shall be

deemed with prejudice and judgment will be entered.             The Clerk is

directed    to   terminate    any   previously   scheduled     deadlines   and

pending    motions,   and    administratively    close   the    case   pending

further Order.

     DONE and ORDERED at Fort Myers, Florida, this              2nd    day of

January, 2018.




Copies:
Counsel of Record




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